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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  EMMANUEL CORNET, JUSTINE DE
  CAIRES, GRAE KINDEL, ALEXIS
  CAMACHO, JESSICA PAN, EMILY KIM,
  MIGUEL BARRETO, and BRETT MENZIES                 C.A. No. 1:23-cv-00441-TMH
  FOLKINS, on behalf of themselves and all
  others similarly situated,

                             Plaintiffs,

                 v.

  TWITTER, INC.

                             Defendant.


                 PLAINTIFFS’ ANSWERING BRIEF IN OPPOSITION TO
                         DEFENDANT’S MOTION TO STRIKE
                PLAINTIFFS’ NOTICES OF SUPPLEMENTAL AUTHORITY


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  I.     INTRODUCTION

         Nearly two years ago, on May 17, 2023, Twitter moved to dismiss Plaintiffs’ claims

  pursuant to Federal Rules of Civil Procedure 12(b)(6) and 12(b)(1), arguing among other things

  that no reasonable factfinder could find in Plaintiffs’ favor on their claims. D.I. 77. During the

  pendency of this motion, beginning on November 26, 2024, Plaintiffs began notifying the Court,

  via sealed Notices of Supplemental Authority, of arbitration awards adjudicating the claims of

  former Twitter employees who have brought the exact same claims as Plaintiffs have brought in

  this action. From November 2024 to March 2025, Plaintiffs continued to update the Court on

  arbitration awards that support their claims and undermine Twitter’s contention that no

  reasonable factfinder could find in Plaintiffs’ favor. D.I. 98, 108, 111, 114, 117.

         Throughout these several months in which several Notices of Supplemental Authority

  were filed, Twitter never raised to the Court any issues regarding the purported impropriety of

  these filings. Then, on March 25, 2025, intervenors from the media moved this Court to unseal

  these arbitration awards. D.I. 119. Now, faced with the prospect of these awards being made

  public, Twitter has suddenly taken the position that these filings were improper all along—

  despite months of silence. Clearly, Twitter does not actually believe that these arbitration

  awards—which are clearly relevant here, as they concern identical claims—are irrelevant or

  improperly filed; if this were the case, a motion to strike would have been filed months ago.

  Rather, the majority of Twitter’s arguments pertain to the unsealing issue, which the Court can

  properly address in ruling on the media intervenors’ motion. Twitter’s untimely motion to strike

  should be denied, for the following reasons.

         First, the arbitration awards filed under seal by Plaintiffs are undoubtedly relevant, in that

  they contain decisions in adjudications (mostly by retired judges) addressing the same claims as




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  Plaintiffs press here. These awards directly rebut Twitter’s argument that no reasonable

  factfinder could rule in Plaintiffs’ favor. Furthermore, it goes without saying that the Court may

  consider nonbinding legal authorities addressing similar issues of law in deciding a motion to

  dismiss; indeed, any argument to the contrary is undermined by Twitter’s own supplemental

  citation to Arnold v. X Corp., 2024 WL 4987032 (D. Del. Dec. 5, 2024), a provisional report and

  recommendation by a magistrate judge that lacks the force of law. D.I. 103.

         Second, Twitter cites no authority holding that an arbitration award is an improper

  subject of a notice of supplemental authority. On the contrary, courts deciding issues of law may

  consult, as persuasive authorities, the decisions of other types of tribunals, including arbitration

  awards and administrative adjudications. See Morgan Stanley Smith Barney LLC v. Stafford,

  2015 WL 4645640, at *3 (D. Mont. Aug. 5, 2015) (denying motion to strike arbitration award as

  supplemental authority); Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944) (acknowledging

  that courts may consider administrative interpretations and opinions); Schienblum v. Lehigh

  Valley Charter Sch. for the Arts, 2016 WL 7429192, at *4 n.3 (E.D. Pa. Dec. 20, 2016)

  (addressing NRLB decision introduced as a supplemental authority); DeSimone v. Select

  Portfolio Servicing, Inc., 2023 WL 6450236, at *4 (E.D.N.Y. Sept. 30, 2023) (denying a motion

  to strike an advisory opinion from the CFBP as a supplemental authority); Palmer v. Convergys

  Corp., 2012 WL 425256, at *3 n.2 (M.D. Ga. Feb. 9, 2012) (addressing an NLRB decision filed

  as supplemental authority). It makes little sense for Twitter to challenge arbitration awards—

  which may become enforceable final judgments that are binding on the parties—as “authorities,”

  when Twitter itself has cited an “authority” that is merely a provisional report and

  recommendation from a magistrate judge (likewise addressing the issue the Court has in front of

  it in this case) with no independent force of law.




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         Third, and finally, most of Twitter’s arguments on the issue of confidentiality appear to

  pertain to the purported impropriety of these arbitration awards being unsealed, an entirely

  separate issue that is being litigated between Twitter and third-party media intervenors in this

  case. Plaintiffs filed these arbitration awards under seal knowing that Twitter takes the position

  that they are confidential, and, unlike in the other cases cited by Twitter involving Plaintiffs’

  counsel, Plaintiffs have not moved to unseal them. Indeed, Twitter’s primary qualms appear to

  be related to the third-party intervenors’ motion, considering that Twitter raised no objection to

  the filing of these arbitration awards over the course of months until just after the intervenors’

  motion was filed.

         Twitter also cannot in good faith object to Plaintiffs’ citations to these arbitration awards,

  since the parties have agreed that evidence from these arbitrations—including arbitration

  awards—may be utilized across court cases and arbitrations brought by claimants represented by

  Plaintiffs’ counsel against Twitter. 1 The fact that this agreement extends not only to documentary

  or testimonial evidence, but also arbitration awards, is confirmed by the fact that Twitter itself

  has repeatedly cited and attached arbitrators’ rulings in other arbitrations when it has believed

  doing so would be beneficial to its position.2

         In sum, both parties have submitted to the Court non-binding, but potentially persuasive

  authorities addressing the issues of law presented by Twitter’s motion to dismiss. Even if the

  Court ultimately decides to afford these arbitration awards little weight, they are nevertheless



  1
         This agreement is memorialized in each arbitration scheduling order entered into between
  claimants represented by Plaintiffs’ counsel and Twitter. See Exhibit A at 2 (arbitration
  scheduling order template).
  2
         The parties’ agreement permits the sharing of case materials across all of Plaintiffs’
  counsel’s arbitrations and court cases against Twitter. See infra note 7.


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  undoubtedly relevant to the issues before the Court (and proper for Plaintiffs to file – even if

  simply to preserve their record), and therefore there are no grounds for them to be stricken.

  II.    STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDINGS

         This case was filed on November 3, 2022. 3 Nearly two years ago, on May 17, 2023,

  Twitter moved to dismiss Plaintiffs’ claims pursuant to Federal Rules of Civil Procedure

  12(b)(6) and 12(b)(1). D.I. 77. During the pendency of this motion, Twitter has filed a Notice of

  Subsequent Authority, notifying the Court of the Magistrate Judge’s report and recommendation

  in Arnold v. X Corp., 2024 WL 4987032. D.I. 103. On November 26, 2024, January 8, 2025,

  January 14, 2025, February 14, 2025, and March 21, 2025, Plaintiffs filed under seal five Notices

  of Supplemental Authority, bringing to the Court’s attention arbitration awards in more than 20

  cases, deciding the cases of former Twitter employees who brought the same claims Plaintiffs

  brought here. D.I. 98, 108, 111, 114, 117. But not until last week, on April 8, 2025, more than

  four months after Plaintiffs began filing these notices (and more than two weeks after the most

  recent was filed), Twitter moved to strike all these Notices of Supplemental Authority and the

  accompanying exhibits from the record. D.I. 124. That same day, the Court notified the parties

  that Plaintiffs should respond to Twitter’s motion by today, April 14, 2025. D.I. 125.

  III.   SUMMARY OF THE ARGUMENT

         1.      The arbitration awards filed by Plaintiffs as notices of supplemental authority are

  clearly relevant to, and supportive of their opposition to, Twitter’s motion to dismiss. Even if

  these authorities are nonbinding, it is commonplace for courts to take under consideration

  persuasive (even if non-binding) authorities that address substantively similar issues presented in

  a motion to dismiss. Here, the arbitration awards are clearly relevant because they pertain to the


  3
          Plaintiffs originally filed suit in the Northern District of California, but the court ordered
  that the case be transferred to the District of Delaware on April 19, 2023. D.I. 66.


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same issues before the Court on Twitter’s motion to dismiss, and they directly undermine

Twitter’s argument that no reasonable factfinder could find in favor of Plaintiffs. 4

       2.      Twitter cites no authority indicating that arbitration awards are improper subjects

of notices of supplemental authority. On the contrary, courts may consult as persuasive

authorities the decisions of other tribunals, including arbitration awards and administrative

decisions. Morgan Stanley, 2015 WL 4645640, at *3; Skidmore, 323 U.S. at 140; Schienblum,

2016 WL 7429192, at *4 n.3; DeSimone, 2023 WL 6450236, at *4; Palmer, 2012 WL 425256, at

*3 n.2. Indeed, Twitter itself has brought to the attention of the Court a nonbinding, persuasive

authority by referencing a report and recommendation in Arnold; however, unlike this report and

recommendation, the arbitration awards filed by Plaintiffs would be enforceable decisions on the

merits (once confirmed), and they are even entitled to preclusive effect in court. See USG Cos.,

Inc. v. Advantage Sales & Mktg. LLC, 2018 WL 3117545, at *4 (D. Del. June 25, 2018).

Accordingly, Twitter’s attempt to argue that arbitration awards are not legitimate “authorities” is

incorrect.

       3.      Any confidentiality concerns raised by Twitter are addressed by the fact that

Plaintiffs filed these awards under seal, and any arguments regarding the propriety of these

awards entering the public record are irrelevant to this motion and should instead be properly

addressed in deciding the media intervenors’ motion to unseal. Furthermore, the parties here

(Twitter on the one hand, and plaintiffs and claimants represented by Plaintiffs’ counsel, on the

other) have agreed that materials produced in these arbitrations—which would include evidence,

as well as arbitration awards, may be shared across court cases and arbitrations brought by


4
        A number of these arbitrators looked to extrinsic evidence to find in favor of employees
on their breach of contract third-party beneficiary claims, which undermines the reasoning of the
Arnold report and recommendation, which did not consider the possibility of extrinsic evidence,
where the contract included contradictory provisions. See 2024 WL 4987032, at *6–9.


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Plaintiffs’ counsel. Any contrary argument by Twitter that the agreement is limited to evidentiary

materials only (as opposed to arbitration awards) is directly undermined by Twitter’s own

conduct; indeed, Twitter itself was the first party to start filing Notices of Supplemental

Authority citing prior arbitration awards in arbitrations it conducted with claimants represented

by Plaintiffs’ counsel.

IV.    STATEMENT OF FACTS

       Plaintiffs are former Twitter employees who have brought class claims of breach of

contract and promissory estoppel against the company for failing to provide severance benefits

that were promised to them, in the event that they lost their jobs, prior to Elon Musk’s

acquisition of the company in October 2022. D.I. 40 at 2. Plaintiffs’ claims arise out of Twitter’s

Agreement and Plan of Merger (the “Merger Agreement”) (for which the employees contend that

they are third party beneficiaries), as well as direct written and oral promises made by the

company directly to its employees. Id. at 12–13.

       On May 17, 2023, Twitter filed a motion to dismiss Plaintiffs’ claims pursuant to Federal

Rules of Civil Procedure 12(b)(1) and 12(b)(6). D.I. 77. The motion was fully briefed by June

21, 2023. D.I. 88. On December 18, 2024, Twitter filed a Notice of Subsequent Authority

notifying the Court of the Magistrate Judge’s report and recommendation in the matter of Arnold

v. X Corp., 2024 WL 4987032 (a case that was filed six months after this case). D.I. 103. Twitter

characterized the Arnold report and recommendation, which also pertains to ex-Twitter

employees’ claims for severance benefits following Mr. Musk’s acquisition, as a “decision . . .

[that] resolves key issues relating to the alleged third-party beneficiary breach of contract claim

at issue in Defendant’s Motion to Dismiss and Strike Class Allegations.” D.I. 103.




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       Plaintiffs have also filed Notices of Supplemental Authority, informing this Court of

awards in more than 20 arbitration cases addressing the claims of former Twitter employees

who, like Plaintiffs, lost their jobs following Elon Musk’s purchase of the company but did not

receive the severance package they allege that they were promised. D.I. 98; D.I. 108; D.I. 111;

D.I. 114; D.I. 117. Like the Arnold report and recommendation, the awards—even if nonbinding

on this Court 5—address the same legal claims brought by Plaintiffs here.

       As Twitter notes in its motion, Twitter’s standard Dispute Resolution Agreement

(“DRA”) contains a confidentiality agreement; because Twitter takes the position that awards in

arbitrations conducted pursuant to the DRA are confidential, Plaintiffs have filed these Notices

of Supplemental Authority under seal. D.I. 98; D.I. 108; D.I. 111; D.I. 114; D.I. 117. Though

Twitter takes the position that such awards are confidential, 6 Twitter has agreed with Plaintiffs’

counsel that materials between Twitter and any employees represented by Plaintiffs’ counsel can

be used in any other court proceeding or arbitration between Twitter and any other employees

represented by Plaintiffs’ counsel. See Exhibit A at 2. The parties have clearly understood that

this agreement applies to arbitration awards and not just discovery materials; that understanding



5
        To be clear, Plaintiffs are not arguing that these awards are entitled to preclusive effect at
this time, but they made raise collateral estoppel arguments in the future. Rather, Plaintiffs
reference these awards because they may be persuasive authorities to the Court – but more
importantly because they undermine Twitter’s argument that no reasonable factfinder could find
in Plaintiffs’ favor.
6
        Plaintiffs note that Twitter’s DRA provides that arbitrations are confidential “[e]xcept as
may be permitted or required by law”. D.I. 18-1 at Exhibit A. Because filing a relevant
arbitration award in a public lawsuit is permitted by law, it appears that the DRA would not
render arbitration awards confidential once they are filed in court, given that the Third Circuit
has held that arbitration awards are “judicial record[s] subject to the common-law right of
access.” Pa. Nat’l Mut. Cas. Ins. Grp. v. New England Reinsurance Corp., 840 F. App’x 688,
691 (3d Cir. 2020). However, Plaintiffs have not taken a position on the intervenors’ motion to
unseal and leave that issue for the Court to address on the intervenors’ motion.


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has been shown by the fact that Twitter itself has filed notices of supplemental authorities in a

number of arbitrations citing other arbitration awards obtained by Plaintiffs’ counsel. 7 One of

those awards is one that Plaintiffs have provided to the Court (D.I. 108-7). 8

V.     STANDARD OF REVIEW

       While a court’s authority to strike pleadings derives from Rule 12(f) of the Federal Rules

of Civil Procedure, courts have recognized a limited ability by courts to strike other documents

pursuant to its “inherent authority.” Sincavage v. Schott N. Am., 2018 WL 4852218, at *9 (M.D.

Pa. Oct. 5, 2018). “[A] court’s inherent authority to strike documents other than pleadings is

wielded only in rare circumstances.” Id.; see also Hlfip Holding, Inc. v. Rutherford County, 2020

WL 6484254, at *2 (M.D. Tenn. Sept. 13, 2020) (“[M]otions to strike are generally disfavored

and should be granted only when the material at issue has no possible relation to the

controversy.”); Arthurs v. Glob. TPA LLC, 2015 WL 13652716, at *1 (M.D. Fla. Feb. 6, 2015)

(“A motion to strike is a drastic remedy generally disfavored by the courts, and will ordinarily be

denied unless the material sought to be stricken is insufficient as a matter of law.”). As the

Supreme Court has cautioned, “[b]ecause of their very potency, inherent powers must be

exercised with restraint and discretion.” Chambers v. NASCO, Inc., 501 U.S. 32, 44 (1991).




7
        There is no reason that the ability of the parties to cite arbitration decision across other
cases that Plaintiffs’ counsel are litigating against Twitter would be any different when cited in
arbitration or in court proceedings. Indeed, the agreement between the parties provides that
materials from an arbitration “may be used in another court case and/or arbitration between
Respondents and Plaintiffs/Claimants represented by Lichten & Liss-Riordan, P.C.” Exhibit A at
2 (emphasis added).
8
       Twitter has provided arbitrators with the decisions of other arbitrators who have found in
Twitter’s favor on various discovery issues (D.I. 108-6).


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VI.        ARGUMENT

      A.      The Arbitration Awards, Which Support Plaintiffs’ Contention That Reasonable
              Factfinders May Find in Plaintiffs’ Favor, Are Clearly Relevant Here

           Courts are authorized to dismiss a claim pursuant to Rule 12(b)(6) if “it appears to a

certainty that no relief could be granted under any set of facts which could be proved.” D.P.

Enters., Inc. v. Bucks Cnty. Cmty. Coll., 725 F.2d 943, 944 (3d Cir. 1984). To aid in their

decision-making processes, courts adjudicating motions to dismiss regularly consult persuasive

but nonbinding authorities deciding similar issues—including authorities that are submitted to

the court via a notice of supplemental authority. For instance, in Nuance Communications, Inc.

v. MModal LLC, 2018 WL 6804488, at *3–4 (D. Del. Dec. 27, 2018), report and

recommendation adopted, 2019 WL 181322 (D. Del. Jan. 11, 2019), the court denied a motion to

dismiss a defendant’s counterclaims, in part due to the persuasiveness of an out-of-circuit

authority supplementally filed by the defendant that addressed substantively similar facts and

legal issues. See also Columbian Spot, LLC v. Dollar Bank, 2022 WL 4610644, at *2 (W.D. Pa.

Sept. 30, 2022) (acknowledging the supplemental authorities filed and denying a motion to

dismiss based on “the great weight of persuasive authority permitting similar lawsuits across the

country to proceed to discovery”); In re Ry. Indus. Emp. No-Poach Antitrust Litig., 395 F. Supp.

3d 464, 481 n.6 (W.D. Pa. 2019) (acknowledging the out-of-circuit supplemental authorities filed

by plaintiff in opposition to defendant’s motion to dismiss and finding these authorities

persuasive as to one of the issues before the court).

           Here, the relevance of the arbitration awards is clear. Even if these authorities are

nonbinding, they nevertheless contain the factual findings—as well as legal conclusions—of

experienced arbitrators (most of whom are retired judges) adjudicating claims that are the same




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as Plaintiffs’ claims here. 9 These 20 awards, which reflect unanimity among arbitrators who

have addressed the substantive issues presented by Plaintiffs’ case, are clearly relevant in that

they directly refute Twitter’s contention that no reasonable factfinder could find in favor of

former Twitter employees pursuing the same claims as Plaintiffs are pursuing here. Informing

the Court of recently issued persuasive authorities that are relevant to the issues raised in a

pending motion is common practice and certainly not grounds for granting a motion to strike.

       Because the relevance of the arbitration awards is clear, Twitter attempts to obfuscate this

straightforward issue by arguing that the Court cannot consider an arbitration award on a motion

to dismiss, but this is not so. In Brody v. Hankin, 145 F. App’x 768, 770–71, 773 (3d Cir. 2005),

the primary authority relied upon by Twitter, the Court did not hold that arbitration awards

categorically may not be considered on a motion to dismiss; rather, the Court held that a

defendant could not base an affirmative defense (claim preclusion) on an arbitration award at the

motion to dismiss stage, since the arbitration award was not referenced in the plaintiff’s



9
         Indeed, each arbitration demand filed by Plaintiffs’ counsel included a copy of the
complaint in this case, indicating that the claims being arbitrated are the same as those being
litigated here. D.I. 98-6 (sample arbitration demand).
         Plaintiffs acknowledge the Court’s statement at the hearing held in January 2025 that it
would likely afford little weight to the arbitration awards, as compared presumably to decisions
of other federal district courts and state courts. D.I. 122 at 24. Plaintiffs are not asking the Court
to rely on these awards or consider them binding; rather, Plaintiffs have notified the Court of
these awards so that the Court may take notice that reasonable factfinders (in fact, factfinders in
more than 20 cases, unanimously, in addition to a number of arbitration awards that Plaintiffs
have not submitted to the Court) can find, and indeed, have found in former Twitter employees’
favor on the same claims raised here.
         Even if the Court decides to afford these arbitration awards little weight, these awards are
still relevant authorities that do not warrant being struck from the record. See Garcia v. Serv.
Emps. Int’l Union, 2019 WL 8750273, at *1 (D. Nev. May 23, 2019) (noting that striking a
document pursuant to the court’s inherent authority is appropriate where the document has “no
bearing on the issues at hand”). Furthermore, even if the Court finds these awards to be of little
utility to its own decision, Plaintiffs should be allowed to build their record as needed in the
event of an appeal.



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complaint. Here, on the other hand, the arbitration awards are being referenced by Plaintiffs to

counter Twitter’s argument regarding the legal sufficiency of Plaintiffs’ complaint—and not to

tack on additional facts to a defendant’s request to dismiss that was not alleged in the complaint.

Moreover, unlike Brody, this is not a case where the defendant is relying on external evidence in

support of dismissal; in such circumstances, courts must either disregard such external evidence

or treat the motion as a motion for summary judgment, because the plaintiff must be afforded an

opportunity to respond. Pension Ben. Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192,

1196–97 (3d Cir. 1993). Here, because Plaintiffs are referencing the arbitration awards in support

of a motion to dismiss, this risk of prejudice is not present. 10

        Furthermore, even if the Court were to decide that these awards may not be considered as

external evidence, they are still proper subjects of notices of supplemental authority because they

are persuasive legal authorities in which another tribunal has adjudicated the same claims.

Twitter cannot seriously contend that it would be improper for the Court to take into

consideration persuasive authorities from other tribunals that have considered the same legal

issues raised in Twitter’s motion to dismiss.

        For similar reasons, Twitter’s references to authorities discussing the Court’s ability to

consider external evidence in interpreting a contract are a red herring. 11 The arbitration awards


10
        In any event, because the arbitration awards were issued after Plaintiffs filed their Second
Amended Complaint, Plaintiffs would not have been able to cite these awards in their pleadings.
If the Court finds that they are not proper at this stage unless they are cited in the complaint, then
the Court could grant Plaintiffs leave to amend their complaint to include references to the
awards (given that the case is still at an early procedural stage). See Fed. R. Civ. P. 15(a)(2)
(leave to amend should be “freely give[n] when justice so requires”).
11
       Plaintiffs dispute Twitter’s characterization of the Merger Agreement’s language as
unambiguous and contend that extrinsic evidence should be consulted to interpret the Merger
Agreement’s conflicting terms. See W. Willow-Bay Ct., LLC v. Robino-Bay Ct. Plaza, LLC,
2007 WL 3317551, at *1 (Del. Ch. Nov. 2, 2007). But this dispute has no relevance to Twitter’s
motion to strike, since Plaintiffs did not introduce the arbitration awards as extrinsic evidence to


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are not extrinsic evidence that shed light on contractual ambiguity; rather, they are legal

authorities that undermine Twitter’s contention that Plaintiffs’ claims fail as a matter of law.

Indeed, any contrary argument by Twitter on this issue is disingenuous, considering that Twitter

itself filed a Notice of Subsequent Authority to notify the Court of a Magistrate Judge’s

interpretation of this same contractual language. 12 D.I. 103. The Arnold report and

recommendation, like the arbitration awards at issue here, is a nonbinding, persuasive authority

that indicates how one decisionmaker has addressed the legal issues raised in Twitter’s motion to

dismiss. Twitter’s attempt to characterize these arbitration awards as improper “external

evidence”—when Twitter itself has drawn the Court’s attention to nonbinding authority to aid in

the Court’s adjudication of Plaintiffs’ third-party beneficiary claim—should be rejected.

     B.      The Arbitration Awards Are Proper Subjects of Notices of Supplemental
             Authority

          Twitter’s contention that Plaintiffs’ Notices of Supplemental Authority are “procedurally

improper” is similarly baseless. Pursuant to L.R. 7.1.2(b), it is proper for the Court to consider

“the citation of subsequent authorities” when ruling on a motion.


resolve a contractual ambiguity. Instead, they demonstrate that factfinders who have considered
external evidence (that was presented during a full-blown evidentiary hearing) have found in
favor of employees raising the same third-party beneficiary claim as Plaintiffs have brought here
(unlike the magistrate judge in Arnold who was neither presented with, nor considered, such
external evidence).
        In any event, Plaintiffs reiterate that their claims are not solely dependent on the Merger
Agreement; they also bring breach of contract and promissory estoppel claims based on direct
promises made to them by Twitter.
12
        Twitter’s reference to the Arnold report and recommendation also directly undermines its
assertion that the arbitration awards should not be relied upon because they are purportedly
“based on an informal resolution in a setting lacking many of the procedural and evidentiary
safeguards attendant to legal proceedings.” D.I. 124 at 7. On the contrary, the arbitrators in these
matters had the benefit of a full evidentiary record and thorough evidentiary hearings with ample
procedural safeguards (as well as extensive pre-hearing discovery and post-hearing briefing and
argument), while the provisional report and recommendation in Arnold was based on no record
and without oral argument.


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        Twitter makes the case that arbitration awards are not “authorities” because they are not

“new statutes” or “case law” and because they are not precedential. But Twitter cites no rules or

case law indicating that the definition of “authorities” is so limited. In fact, the case law points to

the opposite conclusion. For instance, in Morgan Stanley, 2015 WL 4645640, at *3, a federal

court addressed precisely the issue raised by Twitter in its motion to strike. In that case, a party

notified the court of an arbitration award “in a case that he believe[d] [was] factually similar to

the case at hand.” Id. The court, citing its local rule allowing citations to a “pertinent and

significant authority [that] comes to a party’s notice after the briefs have been filed but before

decision,” permitted the filing of the arbitration award and denied the opposing party’s motion to

strike. Id.

        Further undermining Twitter’s arguments is that courts—including courts in this

Circuit—regularly permit citations to administrative authorities in notices of supplemental

authority. See Schienblum, 2016 WL 7429192, at *4 n.3 (acknowledging a decision by the

NLRB raised to the court in a notice of supplemental authority that was relevant to the pending

motion to dismiss); DeSimone, 2023 WL 6450236, at *4 (denying a motion to strike a notice of

supplemental authority notifying the court of an advisory opinion from the CFPB, noting that

although it was “not binding legal authority,” it was nevertheless “helpful in understanding the

issues” and “relevant to the issues pending before” the court on a motion to dismiss); Palmer,

2012 WL 425256, at *3 n.2 (acknowledging and addressing an NLRB decision that plaintiffs

brought to the court’s attention via a notice of supplemental authority). As the Supreme Court

explained in Skidmore v. Swift & Co., 323 U.S. at 140, administrative authorities, “while not

controlling upon the courts by reason of their authority, do constitute a body of experience and

informed judgment to which courts and litigants may properly resort for guidance.” Here, the




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Court, like the court in DeSimone, should similarly deny the motion to strike. Even if these

awards are not binding, they are nevertheless legal authorities that are “relevant to the issues

pending” before the Court. See DeSimone, 2023 WL 6450236, at *4.

       Again, any contrary argument raised by Twitter is directly undermined by its own Notice

of Supplemental Authority to Arnold, which is a nonbinding report and recommendation. Indeed,

because the Arnold report and recommendation has not been considered by an Article III judge,

it is not even a “final order” with the force of law. Equal Emp. Opportunity Comm’n v. City of

Long Branch, 866 F.3d 93, 99–100 (3d Cir. 2017) (“[A] district court must take some action for

a report and recommendation to become a final order . . . .”). An arbitration award, on the other

hand, “creates or authoritatively declares rights even as a judgment does.” Nix v. Spector Freight

Sys., Inc., 264 F.2d 875, 877 (3d Cir. 1959). 13 Plus, as this Court has found, even unconfirmed

arbitration awards are generally afforded preclusive effect. USG Cos., Inc., 2018 WL 3117545,

at *4 (collecting cases and authorities).

       In other words, it makes little sense for Twitter to file a Notice of Subsequent Authority

pointing the Court’s attention to Arnold—a provisional, nonbinding report and

recommendation—and then argue that arbitration awards are improper “authorities” for the

Court’s consideration. Both the report and recommendation and the arbitration awards are legal

authorities that the Court may consider in deciding substantively similar issues raised in

Twitter’s motion to dismiss. Plus, if anything, the arbitration awards are more bona fide

“authorities” than Arnold, considering that these awards (unlike Arnold) are decisions reached

after full evidentiary hearings and extensive briefing and argument and may become binding on




13
      Indeed, Twitter’s DRA provides that arbitration awards issued pursuant to the arbitration
agreement are “final and binding” on the parties. D.I. 18-1 at Exhibit A.


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the parties to the adjudication. Accordingly, Twitter’s arguments on this point, in addition to not

being supported by case law, are contradicted by its own actions in this litigation. 14

     C.      Plaintiffs’ Notices of Supplemental Authority Do Not Violate the Confidentiality
             Provisions of the DRA

          Twitter’s arguments regarding the confidentiality provisions of the DRA conspicuously

ignore the fact that Plaintiffs filed the arbitration awards at issue under seal, rendering most of

Twitter’s arguments on this issue irrelevant. Indeed, the authorities cited by Twitter in support of

its argument pertain to arbitration awards that a party was attempting to file on the public record.

In ITT Educational Services, Inc. v. Arce, 533 F.3d 342, 344 (5th Cir. 2008), for example, the

Fifth Circuit struck down a party’s attempt to “file an unredacted copy of the arbitrator’s

findings with the district court.” 15 (emphasis added). And, in fact, the Fifth Circuit noted that the

appellant was able to appeal the district court’s decision without violating confidentiality by

filing documents under seal. Id. at 348.

          The prior cases involving Plaintiffs’ counsel cited by Twitter are similarly irrelevant here,

where Plaintiffs have filed the arbitration awards under seal. In Stafford v. IBM Corp., 78 F.4th

62, 65 (2d Cir. 2023), In re IBM Arbitration Agreement Litigation, 76 F.4th 74, 80–81 (2d Cir.

2023), and Billie v. Coverall North America, Inc., 2024 WL 4380618, at *1 (2d Cir. Oct. 3,



14
        Twitter’s argument that Plaintiffs’ Notices of Supplemental Authority “raise arguments
on the merits” is similarly meritless. Plaintiffs have only noted that these arbitration awards
“belie Twitter’s argument that no reasonable factfinder could determine that an enforceable
agreement exists requiring Twitter to pay severance to its former employees under its pre-
acquisition severance policy”—this statement speaks only to the relevance of the arbitration
awards in the Court’s consideration and does not raise any new arguments to the Court. D.I. 108-
1 at 4; D.I. 111-1 at 2–3.
15
        It is also worth noting that the filing party was attempting to introduce the arbitration
award as external evidence of its adversary’s wrongdoing, whereas here Plaintiffs bring the
awards to the Court’s attention as evidence that reasonable factfinders could find in the
Plaintiffs’ favor, as well as based on them being persuasive legal authorities.


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2024), the disputes centered on plaintiffs who were attempting to unseal arbitration awards—and

file them simply so that other plaintiffs would be able to see them. In each of these cases, while

the parties disputed whether the arbitration awards at issue should be unsealed, the propriety of

the plaintiffs filing these awards in the first place was never in question. Cf. Laudig v. IBM

Corp., 2022 WL 18232706, at*3 (N.D. Ga. Dec. 16, 2022) (both parties, including the defendant

arguing to uphold a confidentiality provision, filed documents from arbitration, where dispute

centered around whether these materials should be unsealed). Furthermore, while the Second

Circuit held that it was improper for plaintiffs to seek unsealing these awards for the purpose of

making them available for other potential plaintiffs (because, in those instances, the underlying

controversies had become moot 16), this is not a concern in this case, where the case is not moot,

and since the parties have agreed that they can use arbitration materials across cases. And, in any

event, it is third-party intervenors, not Plaintiffs, who are requesting that this Court unseal the

arbitration awards. D.I. 119. By filing these arbitration awards, Plaintiffs’ counsel are not

attempting to use the docket for “their own gain”; rather, Plaintiffs’ counsel are pressing the

claims of their clients, who would benefit from the Court’s knowledge of these arbitration

decisions (which is a reason that plaintiffs may indeed want to be represented by the same

counsel who are representing others with the same claims—so they can use common discovery

and positive results to help the other cases—notwithstanding the company’s attempt to shroud

the cases in secrecy through arbitration). 17



16
       In Stafford and Billie, Plaintiffs’ counsel filed motions to confirm arbitration awards,
even though those awards had already been paid, and thus the reason for the filing of those cases
had become moot.
17
        Twitter further attempts to impugn Plaintiffs’ counsel’s motives by baselessly alleging
that Plaintiffs’ counsel have failed to obtain their clients’ consent to file arbitration awards. D.I.
124 at 12. There is no basis for this attack or reason to presume consent was not obtained simply


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       Twitter’s citations to Chandler v. IBM Corp., 2023 WL 4987407, at *1 (2d Cir. Aug. 4,

2023), Lodi v. IBM Corp., 2023 WL 4983125, at *1 (2d Cir. Aug. 4, 2023), and Tavenner v.

IBM Corp., 2023 WL 4984758, at *1 (2d Cir. Aug. 4, 2023), similarly lack relevance here, as

each of these cases involved a direct challenge to the enforceability of the arbitration

agreements—and none of these decisions addressed the purported impropriety of filing the

arbitration awards on the docket.

       Where an arbitration award subject to a confidentiality provision is relevant to a public

lawsuit, filing the award under seal unequivocally cures any confidentiality issues. Indeed, this

was the conclusion reached by the court in Cantu v. Mammoth Energy Services, 2023 WL

3681705, at *1 (W.D. Tex. Apr. 10, 2023), where an arbitration award was potentially relevant to

the plaintiff’s issue preclusion argument. Because the award was relevant to the public

proceedings, the court instructed that the defendants’ concerns of confidentiality could be

addressed by having the award filed under seal. 18 Id. at *1. Twitter’s arguments on this issue—

which primarily pertain to the prospect of these awards being unsealed—can be properly

addressed by the Court in addressing the media intervenors’ motion to unseal.

       Furthermore, Twitter cannot contend that Plaintiffs are prohibited by the DRA from

notifying the Court of these arbitration awards, since, as Plaintiffs have previously noted,

Twitter agreed that materials between Twitter and any employees represented by Plaintiffs’

counsel can be used in any other proceeding between Twitter and any other employees



because Plaintiffs did not address this baseless argument in the Arnold amicus filing. Plaintiffs’
counsel did obtain their clients’ consent before filing the notices.
18
        Accordingly, Twitter is plainly incorrect by claiming that Cantu “says nothing about the
right to file confidential arbitration awards.” D.I. 124 at 11 n.3. As noted above, the court plainly
instructed the parties that the relevant arbitration award could be filed under seal. Cantu, 2023
WL 3681705, at *1.


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represented by Plaintiffs’ counsel. Pursuant to this agreement “any evidence produced in [an]

arbitration (including deposition and hearing testimony) may be used in another court case

and/or arbitration between Respondents and Plaintiffs/Claimants represented by Lichten & Liss-

Riordan, P.C.” Exhibit A at 2 (emphasis added). The parties have mutually understood

“evidence” to encompass the arbitration awards produced in these proceedings. Indeed,

throughout Twitter’s litigation with Plaintiffs’ counsel, Twitter has repeatedly disclosed

arbitrators’ rulings in other arbitrations when it has believed doing so would be beneficial to its

position. In the context of discovery disputes, Twitter has provided arbitrators with the decisions

of other arbitrators who found in its favor. D.I. 108-6. And, in fact, Twitter—not Plaintiffs’

counsel—was the first party to file a Notice of Supplemental Authority citing an arbitration

award (one of the arbitration awards provided by Plaintiffs here), which it filed in several

arbitrations. D.I. 108-7. Thus, Twitter cannot credibly claim that Plaintiffs’ citation of the

arbitration awards here breaches any confidentiality provisions.

VII.   CONCLUSION

       The arbitration awards filed here by Plaintiffs as Notices of Supplemental Authority

involve the same claims present in this case. Even if they are not binding on this Court, they are

helpful to Plaintiffs’ argument and undermine Twitter’s contention that no reasonable factfinder

could find in Plaintiffs’ favor. They are also persuasive legal authorities that the Court may

choose to consider in deciding Twitter’s motion to dismiss (whether or not the Court decides to

consider them). Twitter’s attempts to obfuscate this clear conclusion are unpersuasive, and, in

any event, are consistently undermined by Twitter’s own conduct. This is not a situation that

calls for an extraordinary exercise of the Court’s inherent authority, and accordingly Twitter’s

motion to strike should be denied.




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Dated: April 14, 2025              Respectfully submitted,

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                                   MENZIES FOLKINS, on behalf of
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                                   By their attorneys,

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                                CERTIFICATE OF SERVICE

       I, Kate Butler, hereby certify that a true and accurate copy of the redacted version of this

document was served on all counsel of record for Defendant via filing on the Court’s CM/ECF

system on April 14, 2025.


                                             /s/ Kate Butler
                                             Kate Butler




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